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                                   UNITED STATES DISTRICT COURT
                                    DISTRICT OF MASSACHUSETTS

ESTADOS UNIDOS MEXICANOS
     Plaintiff,

v.

SMITH & WESSON BRANDS, INC.;
BARRETT FIREARMS MANUFACTURING,                                         C.A. NO: 1:21-CV-11269-FDS
INC.; BERETTA U.S.A. CORP.; BERETTA
HOLDING S.P.A.; CENTURY
INTERNATIONAL ARMS, INC.; COLT'S
MANUFACTURING COMPANY LLC;
GLOCK, INC.; GLOCK GES.M.B.H.;
STURM, RUGER & CO., INC.;
WITMER PUBLIC SAFETY GROUP, INC.
D/B/A INTERSTATE ARMS,
       Defendants.

    ASSENTED-TO MOTION REGARDING BRIEFING SCHEDULE AND PAGE LIMITS
           FOR ANTICIPATED MOTIONS TO DISMISS BY DEFENDANTS

         Defendants Smith & Wesson Brands, Inc., Barrett Firearms Manufacturing, Inc., Beretta

U.S.A. Corp., Colt’s Manufacturing Company LLC, Glock, Inc., Sturm, Ruger & Co., Inc.,

Century International Arms, Inc., and Witmer Public Safety Group, Inc. (“Served Defendants1”),

with the assent of Plaintiff, move under Local Rule 7.1(a)(1) for an order setting the briefing

schedule and page limits for the anticipated motions to dismiss to be filed in response to the

Complaint.

         In support thereof, the above identified Parties state as follows:

1.       On August 4, 2021, Plaintiff filed this action asserting various claims related to

         Defendants’ alleged business practices seeking to recover various costs it has expended

         due to firearm related violence. (Dkt. 1 - Complaint). The Complaint is 135 pages and

         includes nine counts.

2.       Several of the named Defendants have been served, and pursuant to the Federal Rules of

         Civil Procedure (“FRCP”), the earliest served Defendant would have been required to

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  Filing of this motion and use of the term “Served” in this motion is not to be deemed a waiver of any defenses,
including improper service.
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     answer or otherwise respond to the Complaint by September 1, 2021. (Dkt. 9-

     15). Pursuant to a Stipulation filed with the Court (Dkt. 18), the current deadline for the

     Served Defendants to respond to the Complaint is November 22, 2021.

3.   Preliminarily, all Served Defendants anticipate filing motions to dismiss pursuant to

     FRCP 12(b). The Served Defendants anticipate that some of the issues raised in their

     motions to dismiss will overlap significantly. As to these issues, the Served Defendants

     believe reference to a shared brief in support of their 12(b) motions is the most efficient

     manner to bring these issues before the Court.

4.   Additionally, the Served Defendants’ motions will assert grounds for dismissal specific to

     them, for example, personal jurisdiction issues or counts in which only a single defendant

     is named. Therefore, individual briefs in support of the Served Defendants’ motions on

     these issues are required, but will be much narrower in scope than the contemplated

     shared brief.

5.   Pursuant to Local Rule 7.1(b), each Defendant may file a memorandum of law in support

     of a motion not to exceed 20 pages. Under the same rule, the Plaintiff may file

     memorandums in opposition not to exceed 20 pages. Reply briefs may be submitted with

     court permission.

6.   Pursuant to Local rule 7.1(a)(1), “At the earliest practicable time, the judicial officer shall

     establish a framework for the disposition of motions, which, at the discretion of the

     judicial officer, may include specific deadlines or general time guidelines for filing

     motions. This framework may be amended from time to time by the judicial officer as

     required by the progress of the case.”

7.   To minimize the burden of the Parties and the Court, to simplify the presentation of

     arguments and reduce redundancies in arguments, and in recognition of the complexity of
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the claims alleged, the Parties have reached an agreement on the following proposed page

limits, format, and deadlines for the motion to dismiss briefing:


FRCP 12 Joint Briefing:

       Primary Brief: Served Defendants may file a joint memorandum of law in support

       of their Rule 12(b) motions not to exceed 45 pages. These papers shall be filed on

       or before November 22, 2021.

       Opposition Brief. Plaintiff may file a brief in opposition to Defendants’ joint

       memorandum of law not to exceed 45 pages. These papers shall be filed on or

       before January 31, 2022.

       Reply Briefs. Served Defendants may file a joint reply in support of their joint

       memorandum of law not to exceed 25 pages. These papers shall be filed on or

       before February 28, 2022.

FRCP 12 Individual Briefing:

       Primary    Briefs:   Served    Defendants    may    file     individual   supplemental

       memorandums of law in support of their Rule 12(b) motions not to exceed 25

       pages each. These papers shall be filed on or before November 22, 2021.

       Opposition Briefs. Plaintiff may file briefs in opposition to the individual

       Defendants’ supplemental briefs in support of their Rule 12(b) motions not to

       exceed 25 pages each. These papers shall be filed on or before January 31, 2022.

       However, if any Served Defendants assert lack of personal jurisdiction as a basis

       for dismissal, Plaintiff may seek leave to engage in discovery regarding personal

       jurisdiction issues. If the Court grants leave to conduct jurisdictional discovery,

       Plaintiff’s briefing in opposition on Served Defendant’s Rule 12(b)(2) arguments
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               will be filed on or before thirty days after the deadline for completion of such

               jurisdictional discovery.

               Reply Briefs. Served Defendants may file replies in support of their individual

               supplemental memorandums not to exceed 15 pages each. These papers shall be

               filed on or before February 28, 2022. If discovery is conducted on personal

               jurisdiction, Served Defendants’ reply briefs as to the Rule 12(b)(2) issues will be

               filed within 30 days after Plaintiff’s brief on said issues.

8.     The Parties have conferred and agree that the briefing format outlined above will

       streamline arguments and reduce the burden on the Court (and the Parties), while still

       permitting the Court to fully consider the Parties’ arguments.

9.     The deadlines are proposed in good faith and not for the purposes of delay.

       WHEREFORE, the Served Defendants request that the Court grant their assented-to

motion setting the page limits, format, and deadlines for motion to dismiss briefing pursuant to

the Parties’ agreement.


Dated: August 31, 2021


Respectfully submitted,

Plaintiff,                                          Defendant,
Estados Unidos Mexicanos                            Glock, Inc.,
By its attorneys,                                   By its attorneys,

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By its attorneys,                            By its attorneys,

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Defendant,                                  Defendant,
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By its attorneys,                           By its attorneys,


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Defendant,                                  Defendant,
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Defendant,
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                                 CERTIFICATE OF SERVICE

        I, Peter M. Durney, attorney for the defendant, Glock, Inc., hereby certify that on the 31st
day of August, 2021, a true copy of the foregoing was filed through the ECF System and sent
electronically to the registered participants as identified on the Notice of Electronic Filing and
that paper copies will be served by first-class mail, postage prepaid, upon anyone indicated as a
non-registered participant.

                                                     /s/ Peter M. Durney
                                              Peter M. Durney
